Case 1:04-cv-01945-JBW-SMG Document 892-21 Filed 06/09/06 Page 1 of 60 PageID #:
                                  58090
Case 1:04-cv-01945-JBW-SMG Document 892-21 Filed 06/09/06 Page 2 of 60 PageID #:
                                  58091
Case 1:04-cv-01945-JBW-SMG Document 892-21 Filed 06/09/06 Page 3 of 60 PageID #:
                                  58092
Case 1:04-cv-01945-JBW-SMG Document 892-21 Filed 06/09/06 Page 4 of 60 PageID #:
                                  58093
Case 1:04-cv-01945-JBW-SMG Document 892-21 Filed 06/09/06 Page 5 of 60 PageID #:
                                  58094
Case 1:04-cv-01945-JBW-SMG Document 892-21 Filed 06/09/06 Page 6 of 60 PageID #:
                                  58095
Case 1:04-cv-01945-JBW-SMG Document 892-21 Filed 06/09/06 Page 7 of 60 PageID #:
                                  58096
Case 1:04-cv-01945-JBW-SMG Document 892-21 Filed 06/09/06 Page 8 of 60 PageID #:
                                  58097
Case 1:04-cv-01945-JBW-SMG Document 892-21 Filed 06/09/06 Page 9 of 60 PageID #:
                                  58098
Case 1:04-cv-01945-JBW-SMG Document 892-21 Filed 06/09/06 Page 10 of 60 PageID #:
                                   58099
Case 1:04-cv-01945-JBW-SMG Document 892-21 Filed 06/09/06 Page 11 of 60 PageID #:
                                   58100
Case 1:04-cv-01945-JBW-SMG Document 892-21 Filed 06/09/06 Page 12 of 60 PageID #:
                                   58101
Case 1:04-cv-01945-JBW-SMG Document 892-21 Filed 06/09/06 Page 13 of 60 PageID #:
                                   58102
Case 1:04-cv-01945-JBW-SMG Document 892-21 Filed 06/09/06 Page 14 of 60 PageID #:
                                   58103
Case 1:04-cv-01945-JBW-SMG Document 892-21 Filed 06/09/06 Page 15 of 60 PageID #:
                                   58104
Case 1:04-cv-01945-JBW-SMG Document 892-21 Filed 06/09/06 Page 16 of 60 PageID #:
                                   58105
Case 1:04-cv-01945-JBW-SMG Document 892-21 Filed 06/09/06 Page 17 of 60 PageID #:
                                   58106
Case 1:04-cv-01945-JBW-SMG Document 892-21 Filed 06/09/06 Page 18 of 60 PageID #:
                                   58107
Case 1:04-cv-01945-JBW-SMG Document 892-21 Filed 06/09/06 Page 19 of 60 PageID #:
                                   58108
Case 1:04-cv-01945-JBW-SMG Document 892-21 Filed 06/09/06 Page 20 of 60 PageID #:
                                   58109
Case 1:04-cv-01945-JBW-SMG Document 892-21 Filed 06/09/06 Page 21 of 60 PageID #:
                                   58110
Case 1:04-cv-01945-JBW-SMG Document 892-21 Filed 06/09/06 Page 22 of 60 PageID #:
                                   58111
Case 1:04-cv-01945-JBW-SMG Document 892-21 Filed 06/09/06 Page 23 of 60 PageID #:
                                   58112
Case 1:04-cv-01945-JBW-SMG Document 892-21 Filed 06/09/06 Page 24 of 60 PageID #:
                                   58113
Case 1:04-cv-01945-JBW-SMG Document 892-21 Filed 06/09/06 Page 25 of 60 PageID #:
                                   58114
Case 1:04-cv-01945-JBW-SMG Document 892-21 Filed 06/09/06 Page 26 of 60 PageID #:
                                   58115
Case 1:04-cv-01945-JBW-SMG Document 892-21 Filed 06/09/06 Page 27 of 60 PageID #:
                                   58116
Case 1:04-cv-01945-JBW-SMG Document 892-21 Filed 06/09/06 Page 28 of 60 PageID #:
                                   58117
Case 1:04-cv-01945-JBW-SMG Document 892-21 Filed 06/09/06 Page 29 of 60 PageID #:
                                   58118
Case 1:04-cv-01945-JBW-SMG Document 892-21 Filed 06/09/06 Page 30 of 60 PageID #:
                                   58119
Case 1:04-cv-01945-JBW-SMG Document 892-21 Filed 06/09/06 Page 31 of 60 PageID #:
                                   58120
Case 1:04-cv-01945-JBW-SMG Document 892-21 Filed 06/09/06 Page 32 of 60 PageID #:
                                   58121
Case 1:04-cv-01945-JBW-SMG Document 892-21 Filed 06/09/06 Page 33 of 60 PageID #:
                                   58122
Case 1:04-cv-01945-JBW-SMG Document 892-21 Filed 06/09/06 Page 34 of 60 PageID #:
                                   58123
Case 1:04-cv-01945-JBW-SMG Document 892-21 Filed 06/09/06 Page 35 of 60 PageID #:
                                   58124
Case 1:04-cv-01945-JBW-SMG Document 892-21 Filed 06/09/06 Page 36 of 60 PageID #:
                                   58125
Case 1:04-cv-01945-JBW-SMG Document 892-21 Filed 06/09/06 Page 37 of 60 PageID #:
                                   58126
Case 1:04-cv-01945-JBW-SMG Document 892-21 Filed 06/09/06 Page 38 of 60 PageID #:
                                   58127
Case 1:04-cv-01945-JBW-SMG Document 892-21 Filed 06/09/06 Page 39 of 60 PageID #:
                                   58128
Case 1:04-cv-01945-JBW-SMG Document 892-21 Filed 06/09/06 Page 40 of 60 PageID #:
                                   58129
Case 1:04-cv-01945-JBW-SMG Document 892-21 Filed 06/09/06 Page 41 of 60 PageID #:
                                   58130
Case 1:04-cv-01945-JBW-SMG Document 892-21 Filed 06/09/06 Page 42 of 60 PageID #:
                                   58131
Case 1:04-cv-01945-JBW-SMG Document 892-21 Filed 06/09/06 Page 43 of 60 PageID #:
                                   58132
Case 1:04-cv-01945-JBW-SMG Document 892-21 Filed 06/09/06 Page 44 of 60 PageID #:
                                   58133
Case 1:04-cv-01945-JBW-SMG Document 892-21 Filed 06/09/06 Page 45 of 60 PageID #:
                                   58134
Case 1:04-cv-01945-JBW-SMG Document 892-21 Filed 06/09/06 Page 46 of 60 PageID #:
                                   58135
Case 1:04-cv-01945-JBW-SMG Document 892-21 Filed 06/09/06 Page 47 of 60 PageID #:
                                   58136
Case 1:04-cv-01945-JBW-SMG Document 892-21 Filed 06/09/06 Page 48 of 60 PageID #:
                                   58137
Case 1:04-cv-01945-JBW-SMG Document 892-21 Filed 06/09/06 Page 49 of 60 PageID #:
                                   58138
Case 1:04-cv-01945-JBW-SMG Document 892-21 Filed 06/09/06 Page 50 of 60 PageID #:
                                   58139
Case 1:04-cv-01945-JBW-SMG Document 892-21 Filed 06/09/06 Page 51 of 60 PageID #:
                                   58140
Case 1:04-cv-01945-JBW-SMG Document 892-21 Filed 06/09/06 Page 52 of 60 PageID #:
                                   58141
Case 1:04-cv-01945-JBW-SMG Document 892-21 Filed 06/09/06 Page 53 of 60 PageID #:
                                   58142
Case 1:04-cv-01945-JBW-SMG Document 892-21 Filed 06/09/06 Page 54 of 60 PageID #:
                                   58143
Case 1:04-cv-01945-JBW-SMG Document 892-21 Filed 06/09/06 Page 55 of 60 PageID #:
                                   58144
Case 1:04-cv-01945-JBW-SMG Document 892-21 Filed 06/09/06 Page 56 of 60 PageID #:
                                   58145
Case 1:04-cv-01945-JBW-SMG Document 892-21 Filed 06/09/06 Page 57 of 60 PageID #:
                                   58146
Case 1:04-cv-01945-JBW-SMG Document 892-21 Filed 06/09/06 Page 58 of 60 PageID #:
                                   58147
Case 1:04-cv-01945-JBW-SMG Document 892-21 Filed 06/09/06 Page 59 of 60 PageID #:
                                   58148
Case 1:04-cv-01945-JBW-SMG Document 892-21 Filed 06/09/06 Page 60 of 60 PageID #:
                                   58149
